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                         Exhibit B
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 ( 12) United
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                                                                                                                        Jan. 26 , 2021

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 ( 72 ) Inventor : Bridget Despen , Bellmore , NY (US )                                                                               5/636
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 ( 73 ) Assignee : The Official BBL Pillow Corp. , Miami                       D487,553
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                      20/00; A47C 20/02 ; A47C 20/04 ; A47C          ( 74 ) Attorney, Agent, or Firm — Mark C. Johnson ;
                           16/04 ; A63B 21/00 ; A63B 21/4039         Johnson Dalal
          See application file for complete search history.
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                                                                     An ornamental design for a pillow, as shown and described .
                                                                                                   DESCRIPTION
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                                                       297/452.32
         2,884,652 A * 5/1959 Paolicelli            A47G 9/0253      FIG . 1 is a front right perspective view of a pillow showing
                                                           5/484     my new design;
         D276,938 S * 12/1984 Pedersen                     5/636     FIG . 2 is a front elevational view thereof; the rear eleva
         D279,642 S * 7/1985 Ross                        D6 / 596    tional view being identical;
         4,709,431 A * 12/1987 Shaktman               A47C 7/029     FIG . 3 is a right side elevational view thereof; the left side
                                                            5/653    elevational view being identical;
         D321,760   S   *   11/1991 Carney               D24 / 190
                                                                     FIG . 4 is a top plan view thereof; and,
         D328,682   S        8/1992 Carney                D6 /601
         D375,863   S   *   11/1996 Bigolin               D6 / 596   FIG . 5 is a bottom plan view thereof.
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                                                      FIG . 2




                                                      FIG . 3



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                                                      FIG . 4
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                                      FIG . 5
